                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF IOWA
                                  CENTRAL DIVISION

 UNITED STATES OF AMERICA,
                 Plaintiff,                            No. 4:19-cr-005
 v.                                                    DEFENDANT’S MOTION TO MODIFY
                                                       CONDITIONS OF RELEASE TO
 MARTIN JAMES TIRRELL,                                 ALLOW FOR TRAVEL
                 Defendant.

       COMES NOW, the defendant, Martin J. Tirrell, by his attorney, and moves the Court for

an order modifying his conditions of release. In support of this motion, the defendant states:

       1.      Pursuant to his Conditions of Release, the defendant has been ordered not to leave

Polk County, Iowa. See Docket No. 19, ¶ 7(i).

       2.      The defendant wishes to visit his elderly mother over the Christmas holiday.

       3.      The defendant will travel from Des Moines on December 20, 2019, to his

mother’s home and stay there until his return to Iowa on December 29, 2019.

       4.      Counsel has contacted Assistant U.S. Attorney Rachel Scherle, the attorney for

the government, and has not yet received a response.

       WHEREFORE, the defendant prays that the Court grant this motion to allow the

defendant to travel for the Christmas holiday, and for such other relief as deemed appropriate

under the circumstances.
                                             Respectfully submitted,

                                               /s/ Melanie S. Keiper
                                              MELANIE S. KEIPER
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on December 4, 2019, I electronically filed this document with the
Clerk of Court using the ECF system which will serve it on the appropriate parties.

                                             /s/ Mindy Guynn, Paralegal




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